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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )           8:05CR294
                                                    )
       vs.                                          )             ORDER
                                                    )
FRANCISCO ROBLES,                                   )
                                                    )
                      Defendant.                    )


       This matter is before the court on motion of defendant Francisco Robles (Robles) for
pretrial release (Filing No. 39). The court held a hearing on the motion on January 4, 2006.
During the hearing, the court heard the testimony of Robles, inter alia. Robles testified he was
not convicted of a drug offense in Iowa in late 2004. Follow-up investigation by Pretrial
Services demonstrates that Robles was in fact convicted on December 7, 2004, in
Pottawattamie County, Iowa, of the possession of methamphetamine and sentenced to thirty
days of jail (suspended) with unsupervised probation for 365 days.
Given the nature of the charge in the Indictment and Robles’ travels to Mexico, Robles’ denial
of a portion of his criminal record does not convince the court that Robles’ would adhere to
conditions of release if released. Accordingly, Robles’ motion for pretrial release (Filing No.
39) is denied.
       IT IS SO ORDERED.
       DATED this 6th day of January, 2006.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
